 Case 18-41351-bem                              Doc 12 Filed 06/15/18 Entered 06/16/18 01:15:57                                          Desc Imaged
                                                     Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                   Lesa Hudgins                                                                 Social Security number or ITIN   xxx−xx−2749

                           First Name     Middle Name       Last Name                                   EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                                Social Security number or ITIN _ _ _ _
(Spouse, if filing)        First Name     Middle Name       Last Name
                                                                                                        EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                                    Date case filed for chapter 13 6/11/18

Case number:          18−41351−bem



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                      12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish
wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by
mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain
circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. (See line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response system
is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.

                                                        About Debtor 1:                                            About Debtor 2:
1. Debtor's full name                                   Lesa Hudgins

2. All other names used in the
   last 8 years
                                                        104 Jack Court
3. Address                                              Dallas, GA 30157
                                                        Howard P. Slomka                                         Contact phone (404) 800−4001
     Debtor's attorney                                  Slipakoff & Slomka, PC
4.                                                      Overlook III − Suite 1700
     Name and address                                   2859 Paces Ferry Rd, SE                                  Email: se@myatllaw.com
                                                        Atlanta, GA 30339

5. Bankruptcy trustee                                   Mary Ida Townson                                           Contact phone 404−525−1110
                                                        Chapter 13 Trustee                                         www.atlch13tt.com
                                                        Suite 2200
     Name and address                                   191 Peachtree Street, NE
                                                        Atlanta, GA 30303−1740

6. Bankruptcy clerk's office                            M. Regina Thomas                                           Office Hours: 8:00 a.m. − 4:00 p.m.
                                                        Clerk of Court                                             Court website: www.ganb.uscourts.gov
     Documents in this case may be filed
     at this address. You may inspect all               Room 339, Federal Building
     records filed in this case at this                 600 East First Street                                      Contact phone 706−378−4000
     office or online at www.pacer.gov.                 Rome, GA 30161−3187

                                                                                                                          For more information, see page 2




Official Form 309I (For Individuals or Joint Debtors)            Notice of Chapter 13 Bankruptcy Case                                            page 1
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                                                     Certificate of Notice Page 2 of 3
Debtor Lesa Hudgins                                                                                                                              Case number 18−41351−bem

7. Meeting of creditors                             July 9, 2018 at 02:00 PM                                                Location:
                                                                                                                            Room 111, Federal Building, 600 East First
                                                                                                                            Street, Rome, GA 30161
    Debtors must attend the meeting to              The meeting may be continued or adjourned to a later date. If so, the
    be questioned under oath. In a joint            date will be on the court docket.
    case, both spouses must attend.
    Bring a copy of this notice with                TO THE DEBTOR: Bring an original government issued photo ID
    you. Creditors may attend, but are              and confirmation of social security number. Provide the Trustee a
    not required to do so. Cellular                 copy of your most recently filed tax return seven days prior to the
    phones and other devices with                   meeting, but DO NOT FILE WITH THE COURT.
    cameras are not allowed in the
    building.
                                                    TO OTHER PARTIES: Objections to confirmation must be filed and
                                                    served in accordance with FRBP 3015 at least seven days before the
                                                    date set for the confirmation hearing.
8. Deadlines                                        Deadline to file a complaint to challenge                                     Filing deadline: 9/7/18
                                                    dischargeability of certain debts: You must file:
    The bankruptcy clerk's office must              •      a motion if you assert that the debtors are
    receive these documents and any                        not entitled to receive a discharge under
    required filing fee by the following                   U.S.C. § 1328(f) or
    deadlines.                                      •      a complaint if you want to have a particular
                                                           debt excepted from discharge under
                                                           11 U.S.C. § 523(a)(2) or (4).
                                                    Deadline for all creditors to file a proof of claim                           Filing deadline: 8/20/18
                                                    (except governmental units):
                                                    Deadline for governmental units to file a proof of                            Filing deadline: 12/10/18
                                                    claim:


                                                    Deadlines for filing proof of claim:
                                                        A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                        www.uscourts.gov or any bankruptcy clerk's office.

                                                    To file a claim electronically, visit www.ganb.uscourts.gov and access the ePOC tab.
                                                    If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                                    proof of claim even if your claim is listed in the plan or schedules filed by the debtor.
                                                    Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                    claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                                    example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                                    right to a jury trial.


                                                    Deadline to object to exemptions:                                              Filing deadline:   30 days after the
                                                    The law permits debtors to keep certain property as exempt. If you                                conclusion of the
                                                    believe that the law does not authorize an exemption claimed, you                                 meeting of creditors
                                                    may file an objection.

9. Filing of Plan, Hearing on                       Debtor's counsel is responsible for mailing the plan if not filed contemporaneously with the petition.
   Confirmation of Plan,                            The hearing on confirmation will be held: Date: 8/22/18,         Time: 09:30 AM,   Location: Room 342, Federal
   Allowance and Approval of                        Building, 600 East First Street, Rome, GA 30161
   Debtor's Counsel Attorneys
   Fees
10. Creditors with a foreign                        If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend
    address                                         the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions
                                                    about your rights in this case.
11. Filing a chapter 13                             Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according
    bankruptcy case                                 to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear
                                                    at the confirmation hearing. The debtor will remain in possession of the property and may continue to operate the
                                                    business, if any, unless the court orders otherwise.
12. Exempt property                                 The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to
                                                    creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You
                                                    may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not
                                                    authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                              Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                    However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan are
                                                    made. A discharge means that creditors may never try to collect the debt from the debtors personally except as
                                                    provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or
                                                    (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe
                                                    that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you must file a
                                                    motion.




Official Form 309I (For Individuals or Joint Debtors)             Notice of Chapter 13 Bankruptcy Case                                                       page 2
      Case 18-41351-bem                Doc 12 Filed 06/15/18 Entered 06/16/18 01:15:57                               Desc Imaged
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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 18-41351-bem
Lesa Hudgins                                                                                               Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-6                  User: jacksong                     Page 1 of 1                          Date Rcvd: Jun 13, 2018
                                      Form ID: 309i                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 15, 2018.
db             +Lesa Hudgins,   104 Jack Court,    Dallas, GA 30157-8031
21600165       +Glen Foster,   104 Jack Court,    Dallas, GA 30157-8031
21600168       +Invitation Homes,    8601 Dunwoody Place,   Ste 520,    Atlanta, GA 30350-2551
21600172       +Yasmin Foster,    104 Jack Court,   Dallas, GA 30157-8031

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: se@myatllaw.com Jun 13 2018 21:23:27       Howard P. Slomka,
                 Slipakoff & Slomka, PC,    Overlook III - Suite 1700,    2859 Paces Ferry Rd, SE,
                 Atlanta, GA 30339
tr             +E-mail/Text: ebn@atlch13tt.com Jun 13 2018 21:26:27       Mary Ida Townson,    Chapter 13 Trustee,
                 Suite 2200,   191 Peachtree Street, NE,    Atlanta, GA 30303-1770
21600161       +EDI: GMACFS.COM Jun 14 2018 00:38:00      Ally Financial,    P.o. Box 380901,
                 Bloomington, MN 55438-0901
21602990        EDI: GMACFS.COM Jun 14 2018 00:38:00      Ally Financial,    PO Box 130424,
                 Roseville, MN 55113-0004
21600162       +EDI: CMIGROUP.COM Jun 14 2018 00:38:00      Credit Management Lp,     4200 International Pkwy,
                 Carrollton, TX 75007-1912
21600163       +E-mail/Text: bknotice@ercbpo.com Jun 13 2018 21:25:11       Enhanced Recovery Co L,
                 8014 Bayberry Rd,    Jacksonville, FL 32256-7412
21600164        EDI: GADEPTOFREV.COM Jun 14 2018 00:38:00      Georgia Department of Revenue,
                 Bankruptcy Division,    Post Office Box 161108,    Atlanta, GA 30321
21600167        EDI: IRS.COM Jun 14 2018 00:43:00      Internal Revenue Service,    PO Box 7346,
                 Philadelphia, PA 19101-7346
21600170       +E-mail/Text: Supportservices@receivablesperformance.com Jun 13 2018 21:26:04
                 Receivables Performanc,    20816 44th Ave W,    Lynnwood, WA 98036-7744
21600171       +EDI: SWCR.COM Jun 14 2018 00:43:00      Southwest Credit Syste,    4120 International Parkway,
                 Carrollton, TX 75007-1958
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
21600166*        +Glen Foster,   104 Jack Court,   Dallas, GA 30157-8031
21600169*        +Invitation Homes,   8601 Dunwoody Place,   Ste 520,    Atlanta, GA 30350-2551
                                                                                                                    TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 15, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 11, 2018 at the address(es) listed below:
              Howard P. Slomka   on behalf of Debtor Lesa Hudgins se@myatllaw.com,
               myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;SlomkaTR74
               878@notify.bestcase.com
              Mary Ida Townson   courtdailysummary@atlch13tt.com
                                                                                            TOTAL: 2
